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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                  Terre Haute Division


 ROGER TODD,                                  )
                                              )
                 Plaintiff,                   )
                                              )
         v.                                   )              Case No.       2:19-cv-85-JMS-DLP
                                              )
 OCWEN LOAN SERVICING, LLC., and              )
 DEUTSCHE BANK NATIONAL TRUST CO., as )
 Trustee for NovaStar Mortgage Funding Trust, )
 Series 2007-1 ,                              )
                                              )
               Defendants.                    )

       PLAINTIFF’S REPLY IN FURTHER SUPPORT OF MOTION TO COMPEL

        Plaintiff Roger Todd (“Todd”), by and through undersigned counsel, respectfully submits

 this reply in further support of his Motion to Compel:

                                           Introduction

        Todd asks the Court to compel Ocwen to produce its Risk Convergence Reports and

 email correspondence responsive to a search for the following [non-exact] search terms (“Email

 Correspondence”): (4) Metric Remediation; (5) Metric 1.A; (6) Metric 2.A; (7) Metric 2.B; (8)

 Metric 2.C; (9) Metric 4.C; (10) Metric 5.A; (11) Metric 5.E; (12) Metric Failure; (13) QWR

 Responses; (14) IRG Testing Results; and (15) Bankruptcy Compliance. Todd seeks these

 documents and the information contained therein in an effort to establish Ocwen’s knowledge of

 the systemic servicing deficiencies alleged to be the cause of the allegations complained of, and

 its deliberate refusal to take necessary action to correct them. Ocwen does not dispute the search

 terms are representative of general or specific categories of loan servicing deficiencies it




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 previously identified or that were      monitored for    compliance purposes. These servicing

 deficiencies, broken down by representative metric/search term, include:

        Metric 1.A = Foreclosure sale in error;
        Metric 2.A = Affidavit of Indebtedness (AOI) preparation errors;
        Metric 2.B = Proof of Claim (POC) errors;
        Metric 2.C = Motion for Relief from Stay (MRS) affidavit errors;
        Metric 4.C = Reconciliation of certain waived fees;
        Metric 5.E = Affidavit of Indebtedness Integrity;

        Ocwen objects to each of these requests, contending they are overly broad, unduly

 burdensome, are not proportional to the needs of this case, seek information protected by the

 self-critical analysis privilege, and seek information protected by Rule 408 of the Federal Rules

 of Evidence. Ocwen also contends, despite failing to do so previously during any of the various

 Discovery Conferences conducted by the Court, the email correspondence was never formally

 requested.

                                            Argument

   I.   Todd’s Requests For the Risk Convergence Reports and Email Correspondence Are
        Sufficiently Narrow, Proportional to the Needs of this Case, and Relevant to the
        Claims at Issue.

        As detailed previously, the sought after Risk Convergence Reports and Email

 Correspondence are probative of Ocwen’s prior knowledge of systemic deficiencies with

 REALServicing akin to those complained of by Todd. In turn, the “reasonableness” or nature of

 Ocwen’s statutorily mandated investigations and conduct can only be adequately assessed by

 taking into account this knowledge. While the focus of these proceedings may be a single loan,

 Ocwen should not be permitted to defend its conduct as an isolated incident or as if it occurred in

 a vacuum.




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        With regard to Ocwen’s contention production of the requested documents would be

 unduly burdensome, it continues to rely entirely upon bare conclusory assertions - it provides no

 substance, no affidavit, nor any other demonstrative evidence in support. See, e.g. Bitler Inv.

 Venture II, LLC. v. Marathon Ashland Petroleum LLC, 2007 U.S. Dist. LEXIS 29159 (N.D. Ind.

 2007) (stating that a party resisting discovery must "adequately demonstrate the nature and

 extent of the claimed burden by making a specific showing as to how disclosure of the requested

 documents and information would be particularly burdensome.").

        Nonetheless, in light of Ocwen’s recent representation it cannot conduct a broad

 Google type search using the terms above, Todd would offer to further reduce the scope and

 burden of his request by limiting the search to the same “custodians” whose email accounts

 were searched previously for Search Terms Nos. 1-3 and by eliminating the following terms: (4)

 Metric Remediation; (12) Metric Failure; (13) QWR Responses; and (14) IRG Testing Results.

  II.   Rule 408 of the Federal Rules of Evidence Is Wholly Inapplicable To The Risk
        Convergence Reports.

        Ocwen also argues that Todd’s requests for the Risk Convergence Reports

 Correspondence are improper as production would run afoul of F.R.E. 408. However, it is

 important to again note the Risk Convergence Reports were prepared and kept in the ordinary

 course of business, not in anticipation of litigation. Ocwen does not deny the documents were

 generated before, during, and after any particular proceeding. See, e.g., United States v. Adlam,

 134 F.3d 1194 (2d Cir. 1998) (Documents created as a result of the discovery opponent’s

 ordinary course of business, as a result of a prior dispute, or that should have been created

 irrespective of litigation are not under the protection of the work product doctrine.);

        Ocwen suggests that Federal Rule of Evidence 408 protects the Risk Convergence

 Reports, as they relate to “various consent decrees,” which are allegedly protected by Rule 408.


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 See Def. Ocwen Loan Servicing, LLC’s Resp. in Opp’n to Plf.’s Mot. To Comp., Doc 78, at 7.

 However, Ocwen is wrong, as the Risk Convergence Reports are documents evidencing Ocwen’s

 internal monitoring; they are not settlement discussions protected by Rule 408 and exist

 independently of any regulatory action or requirement. Ocwen primarily relies upon two cases in

 support of this argument: Washtenaw Cty. Emples. Ret. Sys. v. Walgreen Co., 2019 U.S. Dist.

 LEXIS 198978 (N.D. Ill. 2019) and Allison v. Goodyear Tire & Rubber Co., 2010 U.S. Dist.

 LEXIS 85917 (E.D. Pa. 2010).

        In Washtenaw, the plaintiffs sought to compel documents provided to the Securities and

 Exchange Commission (“SEC”). Specifically, the documents consisted of three PowerPoint

 presentations and one “white paper” submitted to the SEC during discussions leading to a

 September 2018 settlement of the SEC’s investigation into the defendants. In Allison, the

 defendant in an asbestos action filed a letter brief requesting certain discovery, namely

 statements of exposure contained in settlement releases executed by the plaintiff as to other

 defendants.

        In both cases, the documents at issue were barred from discovery under implications of

 Rule 408. However, the Risk Convergence Reports are very different than the documents in

 Washtenaw and Allison. In Washtenaw, the documents were produced in preparation of a

 specific settlement. In Allison, the discovery sought was contained in actual settlement releases.

 Here, however, the Risk Convergence Reports are not settlement documents at all and could not

 conceivably be portrayed as constituting settlement discussions. As detailed previously, Ocwen

 was using Risk Convergence Reports to monitor regulatory exposure before any particular

 regulatory action and they continue[d] to be created and utilized long after any particular

 regulatory action.



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 III.    The Court Should Decline Ocwen’s Invitation to Recognize A Self-Critical Analysis
         Privilege.

         Ocwen continues to push for the recognition of a self-critical analysis privilege to protect

 against it having to produce the Risk Convergence Reports. Specifically, it asks the Court to

 follow the holding in Tice v. American Airlines, Inc., 192 F.R.D. 270 (N.D. Ill. 2000) and ignore

 that seventeen years later the very same court itself declared the self-critical analysis privilege to

 be “dead” in Lund v. City of Rockford, 2017 U.S. Dist. LEXIS 196202 (N.D. Ill. 2017) because

 the latter is not binding. This request is patently illogical. Beyond Tice, Ocwen cites to Coates v.

 Johnson & Johnson, 756 F. 2d 524, 551 (7th Cir.), which unsurprisingly was also considered in

 Lund and specifically referenced in support of the the following: “[i]n the Seventh Circuit, the

 case law [regarding self-critical analysis privilege] is all over the lot. Initially, it is important to

 note that the Seventh Circuit, itself, has not recognized the self-critical analysis privilege.” Lund,

 2017 U.S. Dist. LEXIS at *24 (citing Burden-Meeks v. Welch, 319 F.3d 897, 899 (7th Cir. 2003);

 Coates v. Johnson & Johnson, 756 F.2d 524, 551 (7th Cir. 1985)).

         However, should the Court be inclined to find some portion of the Risk Convergence

 Reports are entitled to so form of privilege or protection beyond the Protective Order, Todd

 would respectfully suggest they be tendered to the Court for an in camera review and appropriate

 redactions.

                                              Conclusion

         For all the reasons set forth above, Todd respectfully requests the Court enter an Order

 compelling Ocwen to produce the Risk Convergence Reports and Email Correspondence, to him

 directly or to the Court for an in camera review, within ten (10) days of the Court’s order on this

 motion.




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                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 25, 2019, a copy of the foregoing was filed
 electronically. Notice of this filing will be made on all ECF-registered counsel by operation of
 the Court’s electronic filing system. Parties may access this filing through the Court’s system.

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